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                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                            January 20, 2022

 Counsel                                    Method of Delivery        Counsel For:
 Danielle Courtney Jahn                     By USAFX                  Jeffrey M. Young-Bey
 Assistant Federal Public Defender
 625 Indiana Ave, NW
 Suite 500
 Washington, DC 20004
 Robert A. Feitel                           By USAFX                  Martina Yolanda Jones
 1300 Pennsylvania Avenue NW
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       Re: United States v. Young-Bey, et al.,Crim. No. 21-cr-661 (CKK)
           Discovery Production No. 1

Dear Counsel:

        Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, enclosed please find the
government’s First Discovery Production (FBI-CASEFILE-000000001-7788). This production,
and all others, are covered by the Protective Orders entered by the Court on Court on December 6
and 14, 2021.

       On December 27, 2021, the Government provided Grand Jury Exhibits 1-36 through
USAFX. The original version of these documents is also contained within Discovery Production
No. 1.

       A log of this production will be provided in the next few weeks.

       Because you have requested discovery in this matter, the United States hereby requests
reciprocal discovery, including that the defendant produce all information and items countenanced
by Rules 16(b) and 26.2 of the Federal Rules of Criminal Procedure; provide notice, consistent
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with Rules 12.1, 12.2, and 12.3 of any of planned defenses; and disclose any intention to call an
expert witness.

       If you have any questions, please do not hesitate to contact us.

                                                     Sincerely,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY

                                             By:     /s/ Joshua S. Rothstein
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